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November 21, 2022                                                       Via ECF

Honorable George B. Daniels
United States District Court Judge
Honorable Sarah Netburn
United States Magistrate Judge
Southern District of New York

       Re:     In re Terrorist Attacks on September 11, 2001
               MDL No. 03-MDL-1570 (GBD) (SN)
               Ashton et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN)
               (and member case Burlingame v. Bin Laden, et al., 02-cv-7230
               (GBD)(SN))

Your Honors:

I write to respond to recent letters (MDL/ECF#8765 and 8766) filed by members of the
Plaintiff’s Executive Committee (“PEC”), and to supplement our discussions at the
conference held this past Friday, regarding suggestions for resolving outstanding default
judgment motions against the Taliban “in a way that permits plaintiffs to ‘proceed on
equal footing with one another.’”

I applaud the Court’s concern expressed last Friday that, in evaluating what next steps
should be taken to resolve the Taliban default judgment applications, the Court will not
“rubber stamp” these applications and will attempt a degree of “quality control” to ensure
fairness in the entry, execution and enforcement of any Taliban default judgments.

The O’Neill Plaintiffs (04-cv-1076), for example, have now written to the Court
(MDL/ECF#8765) seeking confirmation of “liability judgments” against the Taliban.
While the Court has issued a “general” liability judgment against the Taliban, that fact
does not mean that every one of the new 2,900 O’Neill plaintiffs-claimants seeking
damages is entitled to an award. I once again ask the Court to weigh the merits and
standing of each plaintiff seeking an award of damages, especially where wrongful death
claims appear to have been filed belatedly by thousands of plaintiffs, and where many
claimants do not appear to be qualified personal representatives or “heirs” under
applicable law. See my letter to the Court dated October 21, 2022 (MDL/ECF#8662).

I reiterate my request for a single Order from the Court (applying to all Taliban wrongful
death claimants) that determines: (1) who may sue for wrongful death damages (only
“personal representatives,” as required by state law?), (2) when the wrongful death action
must have been filed against the Taliban to be timely (under both state and federal law),
and (3) what “heirs” may claim damages in a wrongful death context (does applicable
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state estate administration law or new judicially-created federal common law apply to
determine eligible “heirs”). See Ex. A – Summaries of the wrongful death laws of New
York, New Jersey and Connecticut used previously by the United States Victim
Compensation Fund. I am asking that the PEC be asked to explain and brief why state
estate administration laws do not apply to the Taliban wrongful death claims.

Without an explicit resolution of these seminal wrongful death issues in a single Order,
the Court is faced with resolving thousands of disparate default judgment claims, often
through motions lacking the facts needed to determine each plaintiff’s eligibility. A
resolution of these issues in a preliminary Order will provide the “quality control” and
docket cleansing that is now absolutely necessary in this ever-expanding litigation.

Finally, I remind the Court that a major hurdle in ensuring an equitable resolution and
distribution of any fixed fund of Taliban money is the early wrongful death judgment
issued to the Havlish Plaintiffs (03-cv-09848). I submit, once again (see my prior letter
in 03-cv-09848 at ECF#615), that this judgment should be vacated on the ground that it is
incorrect/defective as it was/is based on counsel’s express misrepresentation to the Court
that the Havlish Plaintiffs were entitled to damages under the Foreign Sovereign
Immunities Act (when the Taliban was/is not a foreign sovereign, and the only viable
claim asserted was a “state” wrongful death claim that was not evaluated in awarding
damages). See Havlish Plaintiffs' Damages Inquest Memorandum (ECF#301 filed
February 14. 2012).1 If the Court were to vacate the Havlish default judgment on the
ground that it is void or voidable under Fed. R. Civ. P. 60, that fact might place all
Taliban wrongful death plaintiffs on an “equal footing.”

In sum, I respectfully ask the Court to require briefing on the law applicable to recovery
from the Taliban – the PEC can state its position on which plaintiffs are entitled to
recover wrongful death damages in a single brief, and any party who disagrees with the
PEC’s assessment should, in turn, be entitled to brief and challenge what the PEC claims
is applicable law. In this manner the Court will hear from all “adversarial” wrongful
death parties with an interest in any limited fund of money that may be disbursed.

Sincerely yours,
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        In claiming damages against all of the defendants, the Havlish Plaintiffs relied
exclusively on the FSIA – “Damages available under the FSIA-created cause of action include
"economic damages, solatium, pain and suffering, and punitive damages," (Brief at 5) – even
though the FSIA clearly does not provide a cause of action in favor of the Havlish Plaintiffs
against the Taliban. No attempt was made in their judgment application to distinguish
between the claims asserted against Sovereign Defendants (FSIA claims) and the claims
asserted against the Taliban, a Non-Sovereign Defendant (on a traditional state tort claim),
nor was any attempt made to justify the requested damage awards under applicable state law.
